     Case 19-50102-gs       Doc 2964      Entered 11/10/21 13:58:06         Page 1 of 17




 1 Jeffrey L. Hartman, Esq.                           Michael S. Budwick, Esq.
   Nevada Bar No. 1607                                Florida Bar No. 938777 (admitted pro hac)
 2 HARTMAN & HARTMAN                                  mbudwick@melandbudwick.com
 3 510 W. Plumb Lane, Suite B                         Solomon B. Genet, Esq.
   Reno, NV 89509                                     Florida Bar No. 617911(admitted pro hac)
 4 T: (775) 324-2800                                  sgenet@melandbudwick.com
   F: (775) 324-1818                                  Gil Ben-Ezra, Esq.
 5 notices@bankruptcyreno.com                         Florida Bar No. 118089 (admitted pro hac)
 6                                                    gbenezra@melandbudwick.com
   Attorney for Christina Lovato, Chapter 7           Alexander E. Brody, Esq.
 7 Trustee                                            Florida Bar No. 1025332 (admitted pro hac)
                                                      abrody@melandbudwick.com
 8                                                    MELAND BUDWICK, P.A.
 9                                                    3200 Southeast Financial Center
                                                      200 South Biscayne Boulevard
10                                                    Miami, Florida 33131
                                                      T: (305) 358-6363
11
                                                      F: (305) 358-1221
12
                                                      Attorneys for Christina Lovato, Chapter 7
13                                                    Trustee
14                             UNITED STATES BANKRUPTCY COURT
15                                    DISTRICT OF NEVADA
     In re                                      Lead Case No.: BK-19-50102-gs
16                                              (Chapter 7)
17   DOUBLE JUMP, INC.
                                                          Jointly Administered with:
18              Debtor.
                                                           19-50130-gs    DC Solar Solutions, Inc.
19
                                                           19-50131-gs    DC Solar Distribution, Inc.
20    X Affects DC Solar Solutions, Inc.                   19-50135-gs    DC Solar Freedom, Inc.
      X Affects DC Solar Distribution, Inc.
21    X Affects DC Solar Freedom, Inc.                    RE-NOTICE OF VIDEOTAPED RULE
22    X Affects Double Jump, Inc.                         2004 EXAMINATION OF AHERN
                                                          RENTALS, INC.
23
24
             PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy Procedure 2004
25
     and the Order Granting Ex Parte Motion for Rule 2004 Examination of Ahern Rentals, Inc. [ECF
26
     No. 1673], Christina Lovato, Chapter 7 trustee (“Trustee”), will, by agreement, take the
27
     examination of AHERN RENTALS, INC. through Cory Rosencranse, its designated
28
     representative, who consents to testify on its behalf with respect to the topics set forth in Exhibit

                                                      1
     Case 19-50102-gs          Doc 2964      Entered 11/10/21 13:58:06       Page 2 of 17




 1   1 on November 30, 2021 at 9:00 am PST / 12:00 pm EST via Veritext Legal Solutions, upon oral
 2   examination, before a Notary Public or other officer authorized by law to administer oaths (“2004
 3   Examination”).
 4             Unless otherwise indicated in a subsequent court filing, the 2004 Examination shall take
 5   place remotely via video-conference pursuant to the terms described in the Order Granting Motion
 6   to Establish Protocols to Safely, Fairly and Efficiently Conduct F.R.B.P. 2004 Oral Examinations
 7   as a Result of COVID-19 (“Protocol Order”) [ECF No. 1831] (a copy of which is attached as
 8   Exhibit 2).1
 9
               The Trustee shall be responsible for scheduling the 2004 Examination with Veritext Legal
10
     Solutions. All parties shall take all reasonable steps to ensure compliance with the terms set forth
11
     in the Protocol Order.
12
13             Notice is further given that unless the parties agree or the court orders otherwise, the

14   deposition will be recorded by video and stenographic means pursuant to FRCP 30. In the event

15   the deposition is recorded by means other than written transcription, at the time of introduction

16   and/or filing of such recording, a written transcription of the deposition shall be presented to the

17   Court.

18             Counsel for the Trustee shall use his best efforts to limit the 2004 Examination of its
19   witness to 1 day for 7 hours (exclusive of off-the-record breaks); however, the oral examination
20   will continue from day-to-day until completed if necessary.
21
               Dated: November 10, 2021.
22
                                                      /s/ Solomon B. Genet (Admitted Pro Hac Vice)
23                                                    Solomon B. Genet, Esq., (FL Bar 617911)
                                                      200 S. Biscayne Blvd., Suite 3200
24                                                    Miami, FL 33131
25                                                    Telephone: (305) 358-6363
                                                      Facsimile: (305) 358-1221
26                                                    Attorney for Christina Lovato, Chapter 7 Trustee
27
28   1
         Counsel for Examinee was served a copy of the Protocol Order.


                                                         2
     Case 19-50102-gs      Doc 2964     Entered 11/10/21 13:58:06       Page 3 of 17




 1                                  CERTIFICATE OF SERVICE
 2           I certify that on November 10, 2021, I caused to be served the above-named document as
 3   indicated below:
             ✔ a. Via ECF to upon the parties listed on the attached Exhibit 3:
 4           ✔ b. Via Direct Email to Mark J. Connot, Esq., mconnot@foxrothschild.com and
 5   the following:

 6                 mara@bayareadrainage.com;
                   taxinfo@tax.cccounty.us;
 7                 deboltcivil@earthlink.net;
                   jqyu1089@yahoo.com;
 8                 lesterray420@gmail.com;
                   rbpainting66@yahoo.com;
 9                 cromero@sfandb.com;
                   billing.help@iag.com;
10                 harry.placenti@us.army.mil;
                   21techlife@gmail.com;
11                 waterbilling@cityofmartinez.org;
12                 fredsfloorcovering@gmail.com;
                   ctrent@msconstruction.com;
13                 taxcollector@countyofnapa.org;
                   mail@nativesonslandscaping.com;
14                 shaunrang@sbcglobal.net;
                   ttccc@solanocounty.com;
15                 rcoff@orkin.com;
                   pacific_coast_wp@att.net;
16                 dbg@crsrealestate.com;
                   ar@alpinepowersystems.com;
17                 billing@kmhsystems.com;
                   ca@ahern.com;
18                 jansen.carl9@gmail.com;
                   pmaddox@iscmotorsports.com;
19                 erossi@cedantioch.com;
                   rachel.larrenaga@chargepoint.com;
20                 jworthen@ganassi.com;
                   tbgna@exide.com;
21                 dcook@kansasspeedway.com;
22                 jfarris@ejmjets.com;
                   troyv@pacificmetalfab.net;
23                 chassen@richmondraceway.com;
                   erivera@talladegasuperspeedway.com;
24                 mquall@quallcardot.com;
                   ben.nelson@wexinc.com;
25
            I declare under penalty of perjury that the foregoing is true and correct.
26
            DATED: November 10, 2021.
27
                                                 /s/ Solomon B. Genet
28                                               Solomon B. Genet, Esq.


                                                    3
     Case 19-50102-gs   Doc 2964   Entered 11/10/21 13:58:06   Page 4 of 17




 1
 2
                               EXHIBIT 1
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            4
     Case 19-50102-gs      Doc 2964      Entered 11/10/21 13:58:06       Page 5 of 17




 1                                               TOPICS
                                (all capitalized terms are defined Below)
 2
 3      1. The relationship between You and DC Solar, including but not limited to transactions and
           contemplated transactions, limited to the time frame from January 1, 2014 through
 4         February 3, 2019.
 5      2. The transfer of monies between You and DC Solar, including the purpose of those
 6         transfers, limited to the time frame from January 1, 2014 through February 3, 2019.

 7      3. The relationship between You and (1) Solar Eclipse Fund IX and (2) Efficient Energy
           Distribution, Inc., limited to the time frame from January 1, 2014 through February 3, 2019.
 8
 9      4. Your knowledge of interactions between Your employees’ affiliated entities, including but
           not limited to Ahern AD, LLC and Xtreme Manufacturing, LLC, and DC Solar, the Funds
10         or Jeffrey Carpoff, limited to the time frame from January 1, 2014 through February 3,
           2019.
11
12      5. Evan Ahern’s role with You and his interactions with DC Solar, the Funds or Jeffrey
           Carpoff.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                    5
     Case 19-50102-gs       Doc 2964      Entered 11/10/21 13:58:06         Page 6 of 17




 1                                                 Definitions
 2          1.      All references to any person shall have the broadest possible interpretation,
 3
     including all persons and entities, and includes his/her/its employees, agents, servants,
 4
     subsidiaries, parent company, affiliated company and any other person or entity or Representative
 5
 6   (as defined below) acting or purporting to act on behalf or under his/her control.

 7          2.      All references to the singular include the plural, and vice versa.
 8          3.      “Debtors” or “DC Solar” shall mean those certain debtors in bankruptcy in the
 9
     Bankruptcy Case, including but not limited to Double Jump, Inc., DC Solar Solutions, Inc., DC
10
     Solar Distribution, Inc. and DC Solar Freedom, Inc., and their agents, representatives and
11
12   professionals including but not limited to Jeffrey Carpoff, Paulette Carpoff, Ronald Roach, Mike

13   Horan, Dan Briggs and Robert Karmann.
14
            4.      “Bankruptcy Case” shall mean the following lead case and all jointly administered
15
     cases: In re Double Jump, Inc., Case No. BK-N-19-50102 (Bankr. D. Nev.).
16
17          5.      “Communication” means any oral or written statement, dialogue, colloquy,

18   discussion or conversation, and includes any transfer of thoughts or ideas or data or information,
19   between persons or locations by means of any Documents or by any other means, including but
20
     not limited to electronic or similar means.
21
            6.      “Control” means in your possession, custody or control or under your direction,
22
23   and includes in the possession, custody or control of those under the direction of you or your

24   employees, subordinates, counsel, accountant, consultant, expert, parent company or affiliated
25   corporation, and any person purporting to act on your behalf.
26
            7.      “Document” means any written or graphic matter and other means of preserving
27
     thought or expression and all tangible things from which information can be processed or
28


                                                       6
     Case 19-50102-gs       Doc 2964       Entered 11/10/21 13:58:06        Page 7 of 17




 1   transcribed, including the originals and all non-identical copies, whether different from the original
 2   by reason of any notation made on such copy or otherwise, including, but not limited to,
 3
     correspondence, emails, memoranda, notes, messages, letters, telegrams, teletype, telefax,
 4
     bulletins, meetings or other communications, inter-office and intra-office telephone calls, diaries,
 5
 6   chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

 7   matter, charts, ledgers, invoices, worksheets, receipts, returns, computer printouts, prospectuses,
 8   financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,
 9
     statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or
10
     modifications, changes and amendments of any of the foregoing), graphic or aural records or
11
12   representations of any kind (including without limitation, photographs, microfiche, microfilm,

13   videotape, records and motion pictures) and electronic, mechanical or electric records or
14
     representations of any kind (including without limitation, tapes, cassettes, discs and records). For
15
     the avoidance of doubt, Document includes but is not limited to all Communications.
16
17          8.      The terms “Related to”, “Relate to”, or “Relating to” shall mean directly or

18   indirectly, refer to, reflect, describe, pertain to, arise out of or in connection with, or in any way
19   legally, logically, or factually be connected with the matter discussed.
20
            9.      “Representative” means any and all agents, employees, servants, officers, directors,
21
     attorneys, or other persons acting or purporting to act on behalf of the person in question.
22
23          10.     The words “and” and “or” as used herein shall be construed either disjunctively or

24   conjunctively as required by the context to bring within the scope of this 2004 Examination any
25   answer that might be deemed outside their scope by another construction.
26
            11.     “You” or “Your” or “Ahern Rentals, Inc.” refers to Ahern Rentals, Inc., including
27
     any person or entity employed by or acting as an agent of Ahern Rentals, Inc., its employees,
28


                                                       7
     Case 19-50102-gs      Doc 2964      Entered 11/10/21 13:58:06       Page 8 of 17




 1   agents, servants, and other persons acting or purporting to act on behalf of Ahern Rentals, Inc.,
 2   including any Representative (as defined above).
 3
            12.     “Funds” refers to:
 4
               a. Solar Eclipse Investment Fund, LLC;
 5             b. Solar Eclipse Investment Fund III, LLC;
 6             c. Solar Eclipse Investment Fund IV, LLC
               d. Solar Eclipse Investment Fund V, LLC;
 7             e. Solar Eclipse Investment Fund VI, LLC;
               f. Solar Eclipse Investment Fund VII, LLC;
 8             g. Solar Eclipse Investment Fund VIII, LLC;
 9             h. Solar Eclipse Investment Fund IX, LLC;
               i. Solar Eclipse Investment Fund X, LLC;
10             j. Solar Eclipse Investment Fund XI, LLC;
               k. Solar Eclipse Investment Fund XII, LLC;
11
               l. Solar Eclipse Investment Fund XIII, LLC;
12             m. Solar Eclipse Investment Fund XIV, LLC;
               n. Solar Eclipse Investment Fund XV, LLC;
13             o. Solar Eclipse Investment Fund XVI, LLC;
               p. Solar Eclipse Investment Fund XVII, LLC;
14
               q. Solar Eclipse Investment Fund XVIII, LLC;
15             r. Solar Eclipse Investment Fund XIX, LLC;
               s. Solar Eclipse Investment Fund XX, LLC;
16             t. Solar Eclipse Investment Fund XXI, LLC;
17             u. Solar Eclipse Investment Fund XXII, LLC;
               v. Solar Eclipse Investment Fund XXIII, LLC;
18             w. Solar Eclipse Investment Fund XXIV, LLC;
               x. Solar Eclipse Investment Fund XXV, LLC;
19             y. Solar Eclipse Investment Fund XXVI, LLC;
20             z. Solar Eclipse Investment Fund XXVII, LLC;
               aa. Solar Eclipse Investment Fund XXVIII, LLC;
21             bb. Solar Eclipse Investment Fund XXIX, LLC;
               cc. Solar Eclipse Investment Fund XXX, LLC;
22             dd. Solar Eclipse Investment Fund XXXI, LLC;
23             ee. Solar Eclipse Investment Fund XXXII, LLC;
               ff. Solar Eclipse Investment Fund XXXIII, LLC;
24             gg. Solar Eclipse Investment Fund XXXIV, LLC;
               hh. Solar Eclipse Investment Fund XXXV, LLC;
25             ii. USB DC Solar Fund I, LLC;
26             jj. USB DC Solar Fund II, LLC;
               kk. King Solarman (Indion) Fund I, LLC;
27             ll. King Solarman (Indion) Fund II, LLC;
               mm. King Solarman (Indion) Fund III, LLC;
28
               nn. King Solarman (Indion) Fund IV, LLC;


                                                    8
     Case 19-50102-gs    Doc 2964    Entered 11/10/21 13:58:06   Page 9 of 17




 1            oo. Site Solar (FedOK) Fund I, LLC; and
              pp. Site Solar (FedOK) Fund II, LLC;
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                9
             
            Case
             Case19-50102-gs
                  19-50102-gs Doc
                               Doc2964
                                   1831 Entered
                                         Entered11/10/21
                                                 05/08/2013:58:06
                                                          14:33:30 Page
                                                                    Page10 of 6
                                                                         1 of 17




         
            
         
            
        
            
         
         Entered on Docket
            
        May 08, 2020
    ___________________________________________________________________
         
            
         -HIIUH\/+DUWPDQ(VT          0LFKDHO6%XGZLFN $GPLWWHGPro Hac Vice 
            1HYDGD%DU1R             6RORPRQ%*HQHW $GPLWWHGPro Hac Vice)
         +$570$1 +$570$1                 0HODQG5XVVLQ %XGZLFN3$
         :3OXPE/DQH6XLWH%        6%LVFD\QH%OYG6XLWH
            5HQR19                  0LDPL)/ 
        7                   7  
            )                 )  
        QRWLFHV#EDQNUXSWF\UHQRFRP        PEXGZLFN#PHODQGUXVVLQFRP
          $WWRUQH\IRU&KULVWLQD/RYDWR VJHQHW#PHODQGUXVVLQFRP
            &KDSWHU7UXVWHH               
        
                                    81,7('67$7(6%$1.5837&<&2857

                                              ',675,&72)1(9$'$





           ,QUH                                          /HDG&DVH1R%.JV
                                                               &KDSWHU 
           '28%/(-803,1&                              
                           'HEWRU                          -RLQWO\$GPLQLVWHUHGZLWK
       
                                                             
           ;$IIHFWV'&6RODU6ROXWLRQV,QF               JV '&6RODU6ROXWLRQV,QF
             ;$IIHFWV'&6RODU'LVWULEXWLRQ,QF            JV '&6RODU'LVWULEXWLRQ,QF
           ;$IIHFWV'&6RODU)UHHGRP,QF                 JV '&6RODU)UHHGRP,QF
             ;$IIHFWV'RXEOH-XPS,QF                    
       
                                                            25'(5*5$17,1*027,2172
                                                           (67$%/,6+35272&2/6726$)(/<
                                                           )$,5/<$1'()),&,(17/<&21'8&7
                                                             )5%325$/(;$0,1$7,216$6
                                                           $5(68/72)&29,'
                                                             
                                                           +HDULQJ'DWH$SULO
                                                           +HDULQJ7LPHDP
                                                             
       
            
                   




                                                        
                                                                                  EXHIBIT 2
          
         Case
          Case19-50102-gs
               19-50102-gs Doc
                            Doc2964
                                1831 Entered
                                      Entered11/10/21
                                              05/08/2013:58:06
                                                       14:33:30 Page
                                                                 Page11 of 6
                                                                      2 of 17




                 7KLVPDWWHUFDPHEHIRUHWKH&RXUWRQ$SULODWDP7KH&RXUWUHYLHZHGWKH
        2PQLEXV0RWLRQWR(VWDEOLVK3URWRFROVWR6DIHO\)DLUO\DQG(IILFLHQWO\&RQGXFW)HGHUDO5XOHV
        RI %DQNUXSWF\ 3URFHGXUH 5XOH  2UDO ([DPLQDWLRQV DV D 5HVXOW RI &29,' ILOHG E\
        &KULVWLQD/RYDWR ³7UXVWHH´ DVFKDSWHUWUXVWHH ³0RWLRQ´ >(&)1R@WKH7UXVWHH¶VUHSO\
        LQVXSSRUWRIWKH0RWLRQ ³5HSO\´ >(&)1R@6RODUPRUH¶VMRLQGHULQVXSSRUWRIWKH0RWLRQ
        >(&)1R@WKHRSSRVLWLRQVWRWKH0RWLRQILOHGE\.H\%DQNDQG6RODU6HQVH WRJHWKHUWKH
        ³2SSRVLWLRQV´ >(&)1RV @70RELOH¶VUHVSRQVHWRWKH0RWLRQ>(&)1R@
        DQG6RODU6HQVH¶VOLPLWHGUHVSRQVHWR70RELOH¶VUHVSRQVH>(&)1R@,QDGGLWLRQWKH&RXUW
        KDVEHHQDGYLVHGWKDWWKH7UXVWHH6RODU6HQVHDQG.H\%DQNKDYHUHDFKHGDFRQVHQVXDOUHVROXWLRQ
       UHJDUGLQJWKH2SSRVLWLRQV)LQGLQJJRRGFDXVHH[LVWVWRJUDQWWKHUHTXHVWHGUHOLHISXUVXDQWWRWKLV
       &RXUW¶VLQKHUHQWDXWKRULW\DQG6HFWLRQRIWKH%DQNUXSWF\&RGH
                ,7,625'(5('WKDWWKH0RWLRQLV*5$17('WKH2SSRVLWLRQVDUH29(558/('$6
       5(62/9('DQGWKHIROORZLQJSURWRFROV ³53URWRFROV´ IRUWKH7UXVWHH¶VWDNLQJRIRUDO
       5H[DPLQDWLRQVVKDOODSSO\LQWKHVH%DQNUXSWF\&DVHV
              7KH 7UXVWHH VKDOO VWDWH LQ WKH QRWLFH RI WDNLQJ WKH RUDO 5  ([DPLQDWLRQ ³
                   ([DPLQDWLRQ´ WKDW D WKH([DPLQDWLRQZLOORFFXUE\YLGHRFRQIHUHQFHDQG E WKH





                 7UXVWHHZLOOEHUHVSRQVLEOHIRUVFKHGXOLQJWKHSURSRVHG([DPLQDWLRQZLWK9HULWH[W
                 7KH7UXVWHHVKDOOKDYHSULPDU\UHVSRQVLELOLW\IRUDUUDQJHPHQWVIRUWKH([DPLQDWLRQ
                   ZLWK9HULWH[W
    
                7KH7UXVWHHVKDOOVHUYHDFRS\RIWKLV2UGHURQWKHH[DPLQHHH[FHSWZKHUHWKHH[DPLQHH
                 KDVFRPPXQLFDWHGLQZULWLQJWRWKH7UXVWHHWKDWFRXQVHOVKRXOGEHVHUYHGLQWKHH[DPLQHH¶V
                   VWHDG
    
                :LWKLQILYH  EXVLQHVVGD\VRIVHUYLFHRIWKH5XOHVXESRHQDWKH7UXVWHHDQGWKH
    
                   H[DPLQHH WKURXJKFRXQVHOLIDSSURSULDWH VKDOOPHHWDQGFRQIHU ³&RQIHUHQFH´ WRGLVFXVV
                 DQGUHVROYH  DGDWHDQGWLPHIRUWKH([DPLQDWLRQZKLFKVKDOOQRWEHXQLODWHUDOO\

    
    
                                      
         
           ³6RODUPRUH´VKDOOPHDQ6RODUPRUH0DQDJHPHQW6HUYLFHV,QF
         
        ³.H\%DQN´ VKDOO PHDQ .H\%DQN 1DWLRQDO $VVRFLDWLRQ ³6RODU6HQVH´ VKDOO PHDQ 6RODU6HQVH
         '&6,//&
       
             ³70RELOH´VKDOOPHDQ70RELOH86$,QF



                                                              
          
         Case
          Case19-50102-gs
               19-50102-gs Doc
                            Doc2964
                                1831 Entered
                                      Entered11/10/21
                                              05/08/2013:58:06
                                                       14:33:30 Page
                                                                 Page12 of 6
                                                                      3 of 17




                   VHWSULRUWRWKH&RQIHUHQFH  DQ\ORJLVWLFDOLVVXHVDQG  FRRUGLQDWLRQZLWK9HULWH[WWR
                    XWLOL]HLWVUHPRWHGHSRVLWLRQSODWIRUP
     
                 (DFKSDUW\WRWKH([DPLQDWLRQVKDOODWDUHDVRQDEOHWLPHSULRUWRWKHVFKHGXOHG
                   ([DPLQDWLRQWDNHVWHSVWRHQVXUHWKDWLWVYLVXDODQGDXGLRFRQQHFWLRQWR9HULWH[W¶VUHPRWH
                   GHSRVLWLRQSODWIRUPLVVXIILFLHQWRQWKHGD\RIH[DPLQDWLRQLQFOXGLQJE\HQVXULQJWKDWLW
                    KDVDFFHVVWR  DFRPSXWHUZLWK L DQLQWHUQHWFRQQHFWLRQZLWKQROHVVWKDQ0HJDELW
                   SHUVHFRQGXSORDGDQGGRZQORDGVSHHGDQG LL IXQFWLRQLQJZHEFDPHUDDQG  DODQG
                    OLQH WHOHSKRQH WR WUDQVPLW DXGLR WR WKH 9HULWH[W SODWIRUP GXULQJ WKH  ([DPLQDWLRQ
     
                    +RZHYHULIDODQGOLQHLVXQDYDLODEOHWKHQDPRELOHSKRQHFRQQHFWLRQZLOOVXIILFH
     
                 $WOHDVWRQHZHHNEHIRUHWKHVFKHGXOHG([DPLQDWLRQHDFKSDUW\DQGLWVFRXQVHOVKDOO
                   WHVWLWVDELOLW\WRFRQQHFWDQGXSORDGH[KLELWVWRWKH9HULWH[WUHPRWHGHSRVLWLRQSODWIRUP
                    7KH7UXVWHHVKDOOFDXVHLQVWUXFWLRQVWREHSURYLGHGIRUVXFKDWHVWXSRQDSDUW\¶VUHTXHVW
     
                 $OOSDUWLHVVKDOODFWLQJRRGIDLWKWRIXOILOOWKHOHWWHUDQGVSLULWRIWKHVH53URWRFROV
                  ,QWKHHYHQWWKDWDQ\LVVXHVLQFRQQHFWLRQZLWKDVSHFLILF([DPLQDWLRQRUWKHVH5
                   3URWRFROV FDQQRW EH UHVROYHG FRQVHQVXDOO\ VXEMHFW WR WKH &RXUW¶V DYDLODELOLW\ WKH
                    SDUWLHVVKDOOKDYHWKHULJKWWRVHHNDWHOHSKRQLFKHDULQJZLWKWKLV&RXUWRQDQH[SHGLWHG
                  EDVLV
               ,QWKHHYHQWWKDWDQH[DPLQHH¶VFDPHUDVWRSVZRUNLQJWKH7UXVWHHVKDOOKDYHWKHULJKWWR
                    GHFLGH ZKHWKHU WR FRQWLQXH WR FRQGXFW WKH  ([DPLQDWLRQ VROHO\ YLD WHOHSKRQH RU
                  UHVFKHGXOH7KHGDWHIRUDQ\VXFKUHVFKHGXOLQJVKDOOEHFRRUGLQDWHGZLWKWKHH[DPLQHH¶V
                  FRXQVHO$Q\GHFLVLRQE\WKH7UXVWHHWRFRQWLQXHZLWKDQH[DPLQDWLRQE\WHOHSKRQHRQO\
                    VKDOOQRWEHFDXVHIRUWDNLQJDVHFRQGH[DPLQDWLRQRIWKHH[DPLQHH





    
                 7KH H[DPLQHH VKDOO WDNH DOO UHDVRQDEOH VWHSV WR HQVXUH LWVDWWRUQH\ LVDEOH WR DFFHVV WKH
                  UHPRWHGHSRVLWLRQ SODWIRUP $QG ZKLOH H[DPLQHHV DQG WKHLU FRXQVHO DUH UHTXLUHG WR
                    FRRSHUDWH LQ REWDLQLQJ DFFHVV WR DQG XVDJH RI WKH 9HULWH[W SODWIRUP LI WKH\ HQFRXQWHU
    
                    GLIILFXOWLHVLQGRLQJVRWKH7UXVWHHZLOOEHUHVSRQVLEOHWRDVVLVWLQDGGUHVVLQJDQGUHVROYLQJ
                  VXFKGLIILFXOWLHV

               9HULWH[W¶VUHPRWHGHSRVLWLRQSODWIRUPSURYLGHVFRXQVHOZLWKWKHRSSRUWXQLW\WRHQJDJHLQ
                    SULYDWHFRPPXQLFDWLRQVZLWKWKHLUFOLHQWV1HLWKHUWKHH[DPLQHHQRULWVFRXQVHOPD\XVH
                  WKDWSULYDWHFRPPXQLFDWLRQPHFKDQLVPRUDQ\RWKHUHOHFWURQLFPHDQVRIFRPPXQLFDWLRQ
                  ZKLOHWKH([DPLQDWLRQLVRQJRLQJWRFRQIHUH[FHSWGXULQJDUHFHVVDQGRQO\WRWKH
                    H[WHQWDQGVXEMHFWWRWKHSDUDPHWHUVDOORZDEOHE\ODZ&RXQVHOIRUDQH[DPLQHHPD\PDNH
                  UHDVRQDEOHUHTXHVWVIRUUHFHVVHVLQFOXGLQJWKRVHWRGLVFXVVZKHWKHUDTXHVWLRQLVVXEMHFW
                    WRSULYLOHJHDVFXVWRPDU\LQQRQUHPRWH5XOHH[DPLQDWLRQVZKLFKUHFHVVHVVKDOOEH
                  JUDQWHGDVFXVWRPDU\LQQRQUHPRWH5XOHH[DPLQDWLRQV
    
                    
    
                                             
         
            7KH 7UXVWHH DQG 70RELOH KDYH DJUHHG RQ 0D\   DV WKH GDWH IRU WKH 70RELOH
         H[DPLQDWLRQ,IIRUDQ\UHDVRQWKHH[DPLQDWLRQGDWHLVFKDQJHGWKHSDUWLHVZLOOPXWXDOO\ZRUNLQ
       JRRGIDLWKWRDJUHHRQDQHZGDWHDQGZLOOQRWXQLODWHUDOO\VHUYHDQHZQRWLFHRIH[DPLQDWLRQRU
         VXESRHQD



                                                                  
          
         Case
          Case19-50102-gs
               19-50102-gs Doc
                            Doc2964
                                1831 Entered
                                      Entered11/10/21
                                              05/08/2013:58:06
                                                       14:33:30 Page
                                                                 Page13 of 6
                                                                      4 of 17




            6XEMHFWWRFRQILGHQWLDOLW\RURWKHUUHVWULFWLRQVRQWKHVXEMHFWPDWWHURIDQ\VSHFLILF
                 ([DPLQDWLRQ D FUHGLWRU PD\ UHPRWHO\ SDUWLFLSDWH LQ D  ([DPLQDWLRQ IRU WKH VROH
                SXUSRVHRIREVHUYLQJ$Q\FUHGLWRUVHHNLQJWRGRVRPXVWDGYLVH7UXVWHH¶VFRXQVHODQGWKH
                H[DPLQHH WKURXJKFRXQVHOLIDSSURSULDWH DWOHDVWWHQ  GD\VSULRUWRWKH GDWHRI WKH
                 VFKHGXOHG([DPLQDWLRQ$Q\VXFKFUHGLWRUVKDOOEHDUVROHUHVSRQVLELOLW\IRUHQVXULQJ
                WKDWLWKDVWKHWHFKQLFDOFDSDFLW\WRDWWHQGDQGPD\DWWHQGDVDSDVVLYHREVHUYHUQRWDQ
                 DFWLYHSDUWLFLSDQW
     
             )RUWKHDYRLGDQFHRIGRXEWDOORWKHUPDWWHUVUHODWHGWRWKH([DPLQDWLRQV VKDOO EH
     
                 JRYHUQHGE\WKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUH
     
         
                )XUWKHULIDSDUW\RWKHUWKDQWKH7UXVWHHVHHNVWRWDNHD([DPLQDWLRQWKH5

        3URWRFROVZRXOGHTXDOO\DSSO\WRWKDWSDUW\VXEMHFWWRDSSOLFDEOHODZLQFOXGLQJWKDWSDUW\¶VULJKW

       WRXWLOL]H5

               )XUWKHUDQ\([DPLQDWLRQFRQGXFWHGLQDFFRUGZLWKWKHVH53URWRFROVZLOOKDYH

       EHHQFRQGXFWHGEHIRUHDQDSSURSULDWHRIILFHUVRORQJDVWKDWRIILFHUDWWHQGHGWKH([DPLQDWLRQ

       YLDWKHVDPHUHPRWHPHDQV HJWHOHSKRQHFRQIHUHQFHFDOORUYLGHRFRQIHUHQFH XVHGWRFRQQHFW

       DOORWKHUUHPRWHSDUWLFLSDQWVDQGVRORQJDVDOOSDUWLFLSDQWV LQFOXGLQJWKHRIILFHU FDQFOHDUO\KHDU

       DQGEHKHDUGE\DOORWKHUSDUWLFLSDQWV





              )XUWKHU QRWKLQJ LQ WKH 5  3URWRFROV SUHYHQWV DQ H[DPLQHH DQG LWV FRXQVHO IURP

       HOHFWLQJWREHLQWKHVDPHORFDWLRQIRUD([DPLQDWLRQLQFOXGLQJDWVXFKWLPHZKHQVRFLDO

       GLVWDQFLQJUHVWULFWLRQVIRUPDORULQIRUPDODUHOLIWHGRUPRGLILHG

              )XUWKHUWKLV&RXUWJUDQWV70RELOH¶VUHTXHVWVDQGFRQWDLQHGLQ70RELOH¶V

       UHVSRQVHWRWKH0RWLRQDVIROORZV

            $Q\ SDUW\ ZKR ILOHV D SDSHU DIIHFWLQJ WKH 5XOH  H[DPLQDWLRQ RI 70RELOH VKDOO VHUYH VXFK
                  SDSHURQLWVFRXQVHO0DUWLQ/)LQHPDQ'DYLV:ULJKW7UHPDLQH//30RQWJRPHU\6WUHHW
                6XLWH  6DQ )UDQFLVFR &DOLIRUQLD  WHOHSKRQH     HPDLO
                  PDUWLQILQHPDQ#GZWFRPRUWKURXJKWKH&RXUW¶VHFIV\VWHP
                
              ,QNHHSLQJZLWK)HG5%DQN3)HG5%DQN3DQG)HG5&LY3WKH7UXVWHH
                VKDOOSD\DOOZLWQHVVPLOHDJHDQGRWKHUUHTXHVWHGIHHVWR70RELOHLQFRQQHFWLRQZLWKWKH5XOH
                H[DPLQDWLRQRI70RELOHVXEMHFWWRDUHDVRQDEOHQHVVVWDQGDUGDQGVKDOOSD\DQ\LQFUHDVHG
                  H[SHQVHVRI70RELOHUHVXOWLQJIURPWKHH[DPLQDWLRQSURFHHGLQJYLD9HULWH[WUDWKHUWKDQLQSHUVRQ
                VXEMHFWWRDUHDVRQDEOHQHVVVWDQGDUG
         
            8QOHVVRWKHUZLVHVWLSXODWHGRURUGHUHGE\WKH&RXUWWKH5XOH([DPLQDWLRQRI70RELOHLV
                  OLPLWHGWRRQHGD\RIQRWPRUHWKDQVHYHQKRXUVRIH[DPLQDWLRQ
    
                 



                                                                  
          
         Case
          Case19-50102-gs
               19-50102-gs Doc
                            Doc2964
                                1831 Entered
                                      Entered11/10/21
                                              05/08/2013:58:06
                                                       14:33:30 Page
                                                                 Page14 of 6
                                                                      5 of 17




                  )XUWKHU WKLV &RXUW KDV H[FOXVLYH MXULVGLFWLRQ WR KHDU DQG GHFLGH PDWWHUV UHODWHG WR WKH
        DSSOLFDWLRQRIDQGFRPSOLDQFHZLWKWKH53URWRFROV
                 )XUWKHU WKH RUDO  ([DPLQDWLRQ RI 6RODU6HQVH VKDOO WDNH SODFH RQ -XO\   LQ
        9DOOH\)RUJH3HQQV\OYDQLDDQGWKHRUDO([DPLQDWLRQRI.H\%DQNVKDOOWDNHSODFHRQ-XO\
        LQ3KLODGHOSKLD3HQQV\OYDQLD7KHVH([DPLQDWLRQVVKDOOWDNHSODFHUHPRWHO\LQWKH
        HYHQWVRFLDOGLVWDQFLQJUHVWULFWLRQVUHPDLQLQSODFHDWWKHWLPH
                 )XUWKHUXQOHVVRWKHUZLVHVWLSXODWHGE\6RODU6HQVHRURUGHUHGE\WKH&RXUWFRXQVHOIRUWKH
        7UXVWHHVKDOOXVHKLVEHVWHIIRUWVWROLPLWWKH([DPLQDWLRQVRILWVZLWQHVVWRGD\RIKRXUV
            H[FOXVLYHRIRIIWKHUHFRUGEUHDNV DQGXQOHVVRWKHUZLVHVWLSXODWHGE\.H\%DQNRURUGHUHGE\WKH
       &RXUWFRXQVHOIRUWKH7UXVWHHVKDOOXVHKLVEHVWHIIRUWVWROLPLWWKH([DPLQDWLRQVRILWVZLWQHVV
       WRGD\RIKRXUV H[FOXVLYHRIRIIWKHUHFRUGEUHDNV 
       5HVSHFWIXOO\6XEPLWWHG%\
       0LFKDHO6%XGZLFN(VTXLUH $GPLWWHGPro Hac Vice 
           )/%DU1R 
       0HODQG5XVVLQ %XGZLFN3$
       6%LVFD\QH%OYG6XLWH
         0LDPL)/





       7  
         )  
       PEXGZLFN#PHODQGUXVVLQFRP
       
         
       $SSURYHG%\
         
       6WHYHQV /HH3&
         5REHUW/DSRZVN\(VT
       $WWRUQH\VIRU6RODU6HQVH'&6,//&
         
       'XDQH0RUULV//3
         +ROO\66WREHUVNL(VT
       $WWRUQH\VIRU.H\%DQN1DWLRQDO$VVRFLDWLRQ
       
         'DYLV:ULJKW7UHPDLQH//3
       0DUWLQ/)LQHPDQ(VT
         $WWRUQH\VIRU1RQ3DUW\70RELOH86$,QF
       
         
                                                   
                                     
    




                                                                
          
         Case
          Case19-50102-gs
               19-50102-gs Doc
                            Doc2964
                                1831 Entered
                                      Entered11/10/21
                                              05/08/2013:58:06
                                                       14:33:30 Page
                                                                 Page15 of 6
                                                                      6 of 17




                                      $/7(51$7,9(0(7+2'5H58/(
         
        ,Q DFFRUGDQFH ZLWK /RFDO 5XOH  FRXQVHO VXEPLWWLQJ WKLV GRFXPHQW FHUWLILHV WKDW WKH RUGHU
        DFFXUDWHO\UHIOHFWVWKHFRXUW¶VUXOLQJDQGWKDW FKHFNRQH 
         

          7KHFRXUWKDVZDLYHGWKHUHTXLUHPHQWVHWIRUWKLQ/5 E  
        

          1RSDUW\DSSHDUHGDWWKHKHDULQJRUILOHGDQREMHFWLRQWRWKHSDSHU
        

         ;,KDYHGHOLYHUHGDFRS\RIWKHSURSRVHGRUGHUWRDOOFRXQVHOZKRDSSHDUHGDWWKHKHDULQJ
                  DQ\ WUXVWHH DSSRLQWHG LQ WKLV FDVH DQG DQ\ XQUHSUHVHQWHG SDUWLHV ZKR DSSHDUHG DW WKH
                  KHDULQJDQGHDFKKDVDSSURYHGRUGLVDSSURYHGWKHRUGHURUIDLOHGWRUHVSRQGDVLQGLFDWHG
                   EHORZ
        
         Trustee’s Counsel:
         
        ;     3UHSDUHG$SSURYHGWKHIRUPRIWKLVRUGHU
       
            :DLYHGWKHULJKWWRUHYLHZWKHRUGHUDQGRU
       
            $SSHDUHGDWWKHKHDULQJZDLYHGWKHULJKWWRUHYLHZWKHRUGHU
       
          0DWWHUXQRSSRVHGGLGQRWDSSHDUDWWKHKHDULQJZDLYHGWKHULJKWWRUHYLHZWKHRUGHU
         
          'LVDSSURYHGWKHIRUPRIWKLVRUGHU
         
    
            'LGQRWUHVSRQGWRWKHSDSHU





         
       U.S. Trustee:
       
          $SSURYHGWKHIRUPRIWKLVRUGHU
       
          'LVDSSURYHGWKHIRUPRIWKLVRUGHU
       
          :DLYHGWKHULJKWWRUHYLHZWKHRUGHUDQGRU
       
          'LGQRWUHVSRQGWRWKHSDSHU
       
         ; 'LGQRWDSSHDUDWWKHKHDULQJRUREMHFWWRWKHSDSHU
         
        ,FHUWLI\WKDWWKLVLVDFDVHXQGHU&KDSWHURUWKDW,KDYHVHUYHGDFRS\RIWKLVRUGHU
                  ZLWK WKH PRWLRQ SXUVXDQW WR /5  J  DQG WKDW QR SDUW\ KDV REMHFWHG WR WKH IRUP RU
                    FRQWHQWRIWKHRUGHU
         
    
         ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
       
         6XEPLWWHGE\
       0HODQG5XVVLQ %XGZLFN3$
       VMichael S. Budwick                
         0LFKDHO6%XGZLFN(VTXLUH $GPLWWHGPro Hac Vice 
         )/%DU1R 
                                                                 



                                                                
                      Case 19-50102-gs                     Doc 2964             Entered 11/10/21 13:58:06           Page 16 of 17
Mailing Information for Case 19-50102-gs
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this case.

      SETH J. ADAMS sadams@woodburnandwedge.com, mlopez@woodburnandwedge.com
      GREG ADDINGTON greg.addington@usdoj.gov, christi.dyer@usdoj.gov;danielle.bleecker@usdoj.gov
      MEGAN M. ADEYEMO madeyemo@gordonrees.com, asoto@grsm.com
      SALLIE B ARMSTRONG sarmstrong@mcdonaldcarano.com, mhale@mcdonaldcarano.com
      SIMON ARON saron@wrslawyers.com
      BRETT A. AXELROD baxelrod@foxrothschild.com, pchlum@foxrothschild.com;mwilson@foxrothschild.com
      GIL BEN-EZRA gbenezra@melandbudwick.com, ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
      ALEXANDER E. BRODY abrody@melandbudwick.com, ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com;mrbnefs@yahoo.com
      OGONNA M. BROWN OBrown@lrrc.com, nlord@lewisroca.com,ogonna-brown-4984@ecf.pacerpro.com,dberhanu@lewisroca.com
      LOUIS M. BUBALA lbubala@kcnvlaw.com, mmarsh@kcnvlaw.com;bsheehan@kcnvlaw.com
      MICHAEL S. BUDWICK mbudwick@melandbudwick.com, ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com
      CHRISTOPHER PATRICK BURKE attycburke@charter.net
      CANDACE C CARLYON ccarlyon@carlyoncica.com,
      CRobertson@carlyoncica.com;nrodriguez@carlyoncica.com;9232006420@filings.docketbird.com;Dcica@carlyoncica.com
      JEFFREY D. CAWDREY jcawdrey@gordonrees.com
      ROBERT M. CHARLES rcharles@lewisroca.com, BankruptcyNotices@lewisroca.com,robert-charles-1072@ecf.pacerpro.com
      DAVID ERNESTO CHAVEZ chavezd@ballardspahr.com, LitDocket_West@ballardspahr.com
      DAWN M. CICA dcica@carlyoncica.com,
      nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyoncica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.c
      WILLIAM D COPE william@copebklaw.com, r64042@notify.bestcase.com
      EDWARD A. CORMA ecorma@cooperlevenson.com
      TIMOTHY S. CORY tcory@crdslaw.com, creade@crdslaw.com
      TRICIA M. DARBY tricia@darbylawpractice.com, kad@darbylawpractice.com
      MICHAEL A DIGIACOMO saltlakedocketclerk@ballardspahr.com;paredesr@ballardspahr.com;hartt@ballardspahr.com
      JAMIE P. DREHER jdreher@downeybrand.com, mfrazier@downeybrand.com;reno@downeybrand.com
      VAN C. DURRER van.durrer@skadden.com
      RICHARD W. ESTERKIN resterkin@morganlewis.com
      LARS EVENSEN lkevensen@hollandhart.com, vlarsen@hollandhart.com;krcole@hollandhart.com
      THOMAS H. FELL tfell@fclaw.com, clandis@fclaw.com;CourtFilings@fennemorelaw.com
      ASHLEY N. FELLONA ashley.fellona@saul.com, Janice.Mast@saul.com
      MARTIN L FINEMAN martinfineman@dwt.com, ExternalForwardUSBC_NEVADA@dwt.com
      ELIZABETH A. FLETCHER efletcher@fletcherlawgroup.com, edendary@fletcherlawgroup.com
      ROBERT C. FOLLAND rob.folland@btlaw.com
      KIAH T. FORD chipford@parkerpoe.com
      FRANCHISE TAX BOARD (cc) BKClaimConfirmation@ftb.ca.gov, kevin.hutty@ftb.ca.gov
      DONALD L. GAFFNEY dgaffney@swlaw.com
      SOLOMON B. GENET sgenet@melandbudwick.com, ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com
      FRANK C. GILMORE fgilmore@rssblaw.com, mdavis@rssblaw.com
      MICHAEL J GOMEZ mgomez@frandzel.com, dmoore@frandzel.com
      REW R. GOODENOW ecf@parsonsbehle.com, rgoodenow@parsonsbehle.com
      TALITHA B. GRAY KOZLOWSKI tgray@brg.legal, bknotices@gtg.legal
      ELIZABETH A. GREEN egreen@bakerlaw.com, orlbankruptcy@bakerlaw.com
      JAMES D. GREENE jgreene@greeneinfusolaw.com, fritchie@greeneinfusolaw.com;kfarney@greeneinfusolaw.com;cwalton@greeneinfusolaw.com
      ALLEN J. GUON aguon@cozen.com, allen-guon-6333@ecf.pacerpro.com;cknez@cozen.com
      STEPHEN R HARRIS steve@harrislawreno.com, hannah@harrislawreno.com;norma@harrislawreno.com
      JEFFREY L HARTMAN notices@bankruptcyreno.com, abg@bankruptcyreno.com
      PAYMON HIFAI phifai@hornerlawgroup.com
      RICHARD F. HOLLEY rholley@nevadafirm.com,
      apestonit@nevadafirm.com;oswibies@nevadafirm.com;agandara@nevadafirm.com;mlangsner@nevadafirm.com
      RICK R. HSU rhsu@mclrenolaw.com, hmotta@mcllawfirm.com
      CHRISTOPHER D. HUGHES chughes@nossaman.com
      BRIAN R. IRVINE birvine@dickinsonwright.com, mreel@dickinsonwright.com;cgrinstead@dickinsonwright.com;RN_litdocket@dickinsonwright.com
      NEAL R. JACOBSON jacobsonn@sec.gov
      MATTHEW L. JOHNSON annabelle@mjohnsonlaw.com, mjohnson@mjohnsonlaw.com;kelcie@mjohnsonlaw.com
      PAUL J. JOHNSON pjohnson@diemerwei.com
      NATHAN G. KANUTE nkanute@swlaw.com, mfull@swlaw.com;jmath@swlaw.com;docket_las@swlaw.com;sdugan@swlaw.com;ljtaylor@swlaw.com
      GREGORY ALAN KRAEMER GKRAEMER@COOPERLEVENSON.COM, gdillingham@cooperlevenson.com
      BORIS KUKSO boris.kukso@usdoj.gov, western.taxcivil@usdoj.gov
      MARY LANGSNER mlangsner@nevadafirm.com, oswibies@nevadafirm.com;rholley@nevadafirm.com;mvanheuvelen@nevadafirm.com
      BART K. LARSEN BLARSEN@SHEA.LAW, 3542839420@filings.docketbird.com
      ROBERT S. LARSEN rlarsen@grsm.com,
      gangulo@grsm.com;wwong@grsm.com;WL_LVSupport@grsm.com;sowens@grsm.com;kkao@grsm.com;jschneringer@grsm.com
      ANDREW V. LAYDEN alayden@bakerlaw.com, orlbankruptcy@bakerlaw.com
      CECILIA LEE efletcher@fletcherlawgroup.com, edendary@fletcherlawgroup.com
      ALEXANDER J. LEWICKI alewicki@diemerwei.com
      CHRISTINA W. LOVATO trusteelovato@att.net, NV26@ecfcbis.com
      TIMOTHY A LUKAS ecflukast@hollandhart.com
      EDWARD M. MCDONALD edward.m.mcdonald@usdoj.gov
      JEANETTE E. MCPHERSON bkfilings@s-mlaw.com
      EDMOND BUDDY MILLER bmiller@buddymillerlaw.com, jepker@buddymillerlaw.com
      ALI M. M. MOJDEHI amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com
      JAMES C. MOON jmoon@melandbudwick.com, ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com
      MELANIE D MORGAN Melanie.morgan@akerman.com, akermanlas@akerman.com
      ASHLEY C NIKKEL anikkel@parsonsbehle.com, rshaffer@parsonsbehle.com
                                                                                                                        EXHIBIT 3
            Case 19-50102-gs            Doc 2964         Entered 11/10/21 13:58:06              Page 17 of 17
WILLIAM M. NOALL bknotices@gtg.legal, wnoall@gtg.legal
TRACY M. O'STEEN tosteen@carlyoncica.com, crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
RICHARD A. OSHINSKI Rick@OshinskiForsberg.com, Linda@OshinskiForsberg.com
DONNA T PARKINSON donna@parkinsonphinney.com
PAUL J PASCUZZI ppascuzzi@ffwplaw.com, docket@ffwplaw.com
KEVIN C. PAULE kpaule@melandbudwick.com, ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com
MICHAEL RYAN PINKSTON rpinkston@seyfarth.com, jmcdermott@seyfarth.com;sfocalendar@seyfarth.com
MATTHEW W. QUALL mquall@quallcardot.com
JACK A. RAISNER jar@outtengolden.com
DONALD A. REA don.rea@saul.com
R. CHRISTOPHER READE creade@crdslaw.com, agilbreath@crdslaw.com;earthur@crdslaw.com;jshafer@crdslaw.com
JULIE HOPE ROME-BANKS Julie@bindermalter.com
RENE' S ROUPINIAN rsr@raisnerroupinian.com, Jar@raisnerroupinian.com;warnlawyers@raisnerroupinian.com;rrllp@ecf.courtdrive.com
JOHN M. SAMBERG jsamberg@wrslawyers.com, efilingjms@wrslawyers.com
THERESE SCHEUER scheuert@sec.gov
SAMUEL A. SCHWARTZ saschwartz@nvfirm.com, ecf@nvfirm.com;schwartzsr45599@notify.bestcase.com;eanderson@nvfirm.com;samid@nvfirm.com
BRIAN D. SHAFFER brian.shaffer@msrlegal.com, karen.wigylus@msrlegal.com
CONNOR H. SHEA cshea@bhfs.com, wcosby@bhfs.com
JAMES PATRICK SHEA jshea@shea.law, blarsen@shea.law;support@shea.law
PATRICK J SHEEHAN psheehan@fclaw.com, tday@fclaw.com
PAUL STEVEN SINGERMAN singerman@bergersingerman.com
DANIEL H. SLATE dslate@buchalter.com, smartin@buchalter.com
PETER J. SMITH peterjsmith@att.net
STEPHEN PAUL SORENSEN ssorensen@tafsattorneys.com
HOLLY S STOBERSKI hstoberski@duanemorris.com, AutoDocketLV@duanemorris.com;jldailey@duanemorris.com
KEVIN M. SUTEHALL ksutehall@foxrothschild.com, dloffredo@foxrothschild.com
T-MOBILE USA, INC. (sb) BankruptcyGroup@T-Mobile.com
AMY N. TIRRE amy@amytirrelaw.com, admin@amytirrelaw.com
U.S. TRUSTEE - RN - 7 USTPRegion17.RE.ECF@usdoj.gov
DAVID F. WAGUESPACK Waguespack@carverdarden.com, plaisance@carverdarden.com
MARTIN L. WELSH mwelsh@lvlaw.com, k.bratton@hayesandwelsh.onmicrosoft.com;nv.ecf@aislegaltrac.com
HANNAH E. WINSTON hwinston@rssblaw.com, cobrien@rssblaw.com
RYAN A. WITTHANS rwitthans@fhlawllp.com
CONSTANCE L. YOUNG clyoung2014@gmail.com
MATTHEW C. ZIRZOW mzirzow@lzlawnv.com,
carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681@notify.bestcase.com
